       Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 1 of 40




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS                                 rn




                     Civil Action No. 3:19-cv-30056-MGM ^SEALED*




                                                     |, an individual,
                                            Plaintiff,

                                                V.



     UMass-Amherst, a Massachusetts public institution of more than 300 employees,
                               Dr. Derek Lovley, an individual.
                              Dr. Toshiyuki Ueki, an individual,
                                Dr. John Lopes, an individual,
                                          Defendants.




                                    Dated August 12,2019




                             MEMORANDUM IN SUPPORT OF
              AUGUST 12, 2019 SECOND MOTION FOR IMPOUNDMENT



The present document is organized as described in the Table of Contents on page 2. References
are made to applicable exhibits, of which a detailed list is furnished on pages 3-4, and which are
all appended to the present memorandum. Plaintiff is under the impression that no copyrights law
was violated by providing press materials in some of these exhibits.
    Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 2 of 40




A
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 3 of 40
Memorandum inSupport ofSecond Motionfor Impoundment      v. UMass-Amherst andthree other Defendants_0812I9




Table of Contents

List of Exhibits                                                                                             3

Affidavit                                                                                                    5

Procedural History                                                                                            6

Argument                                                                                                     7

  Preliminary                                                                                                 7

   Standardfor ruling on an impoundment motion                                                                7

   URIP Balancing test to determine whether good cause exists                                                10

      The nature of theparties and the controversy                                                           10
      The type of information and theprivacy interests involved                                              13
      The extent of community interest                                                                       29
      The reason for the request                                                                             31
      Constitutional rights, investigative secrecy, and safety                                               34
      Immediate and irreparable harm is very probable                                                        35

   Narrow tailoring                                                                                          36

Conclusion                                                                                                   38


Service                                                                                                      39




Table of Contents
            Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 4 of 40
Memorandum inSupport ofSecond Motionfor Impoundmentv. UMass-Amherst andthree other Defendants_p81219




List of Exhibits

Exhibit "01", Copy of the article "Wired Bacteria Form Nature's Power Grid: 'We Have an
  Electric Planet'" written by the author of the "Matter" column for The New York Times, Carl
  Zimmer, and published on July 1, 2019                                                        10
Exhibit "02", Copy of the article "Professor says Harvard was warned of abuse" written by The
  Boston Globe staff, BethHealy and Deidre Femandes, andpublished on May 25, 2019              10
Exhibit "03", Copy of the Nature Editorial "Protect postdocs. A survey of young scientists in the
  United States highlights the exploitation of visa holders" pre-published online on November 21,
  2018 and pubhshed on November 22, 2018                                                       11
Exhibit "04", Copy of theNature Correspondence "Royal Society president stands up for Chinese
  scientists in the United States" written by Dr. Venkatraman Ramakrishnan, pre-published onhne
  on July 16, 2019 and pubhshed on July 18, 2019                                            12
Exhibit "05", Copy of TheBaffler article "Surely, You're a Creep, Mr. Feynman" written by Leila
  McNeill and published online on January 8, 2019                                           13
Exhibit "06", Copy of The Guardian article "Academia is built on exploitation. We must break
  this vicious circle" anonymously signed and published online on May 18, 2019              14
Exhibit "07", Copy of the email sent by the then MCAD investigator, Atty. Olga Serafimova, to
  Plaintiff on October 16, 2014                                                                        15
Exhibit "08", Copy of the email sent by the then MCAD investigator, Atty. Olga Serafimova, to
  Plaintiff on November 13, 2014                                                                       16
Exhibit"09", Copyofthe page "Whistleblower Protections: Historyand Current Stateof the Law"
  published on March 2, 2016 and available in the section News Past Events of the Royal Law
   Firm's website                                                                                      16
Exhibit "10", Copy of the secondpre-complaint filed by Plaintiff at the DLR on March 24, 2015
                                                                                                       16
Exhibit "11", Copy of the email sent by the Hamphire Law Library to Plaintiff on May 1, 2015
                                                                                                       16
Exhibit "12", Copy of the two Wilberforce Pamphlet documents, PowerPoint presentation and
  English online reading, downloaded by Plaintiff on May 1, 2015 from the official J-1 Visa
  website, dated respectively April 29, 2014 and December22, 2014                           17
Exhibit "13", Copy of email conversation with the lead program analyst at the Office of Private
  Sector Exchange Administration of DOS Bureau of Educational and Cultural Affairs, Mark
   Howard, between June 2, 2015 and December 15, 2015                                                  18
Exhibit "14", Copy of the first complaint filed by Plaintiffat the Civil Rights Department of the
  AGO Western Massachusetts Division in Springfield, MA on February 24, 2015                   19
Exhibit "15", Copy of the email and the attached letter sent by the AGO paralegal Sharon Coles
  to Plaintiff on February 25, 2015                                                            20
Exhibit "16", Copy of first cover both sides, page 1, and page 22 of the UMass-Amherst School
  of Public Health and Health Sciences 2015 Annual Report                                      20
Exhibit "17", Copy                             Linkedin page as it appeared on the date ofJuly 17,
   201 9                                                                                               20
Exhibit "18", Copy ofthe page Public Health Center Locations ofthe Alaska Department of Health
  and Social Sciences Department ofPublic Health's website as it appeared on the date ofJuly 17,
   2019                                                                                                20




List of Exhibits
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 5 of 40
Memorandum inSupport ofSecond Motionfor Impoundment   v. UMass-Amherst and threeotherDefendants_081219




Exhibit "19", Copy of the second complaint filed by Plaintiff at the Civil Rights Department of
  the AGO Western Massachusetts Division in Springfield, MA on November 12, 2015               20
Exhibit "20", Copy of the email sent by AGO Civil Rights Department Senior Investigator,
  Richard Steward, to Plaintiff on February 11, 2016                                           20
Exhibit "21", Copy of the third complaint filed by Plaintiffat the Civil Rights Department of the
  AGO Western Massachusetts Division in Springfield, MA on May 12, 2016                        22
Exhibit "22", Copyof the letter of the then Springfield Representative, Benjamin Swan, to AGO
  Senior Investigator, Richard Steward, dated May 19, 2016                                     22
Exhibit "23", Copy of email sent by Plaintiff to AGO Senior Investigator Steward on June 15,
   2016                                                                                                  22
Exhibit "24", Copyof the emailand the attached letter sent by Ms. Coles to Plaintiffon June 24,
   2016                                                                                                  22
Exhibit "25", Copy of the email sent by State Police Detective Gary Hebert to Plaintiff on
   November 2, 2015                                                                                      23
Exhibit "26", Copy of the article "Inside the secret courts" written by The Boston Globe's
  Spothght Team and pubhshed on September 30, 2018                                       24
Exhibit "27", Copy ofthe email conversationbetween Plaintiff and ADA Jennifer Suhl from May
  19, 2016 until April 21, 2017                                                          24
Exhibit "28", Copy ofthe email sent by Atty. Scott Clark to Plaintiffon July 29, 2019    26
Exhibit "29", Copy of The New York Times article "Star Economist at Harvard Faces Sexual
  Harassment Complaints" written by Jim Tankersley and Ben Casselman and published on
   December 14, 2018                                                                                     27
Exhibit "30", Copy of Plaintiffs April 3, 2014 medical records at the UMass-Amherst Health
  Departmentobtained on August 21, 2018                                                         28
Exhibit "31", Copy of Plaintiffs July 1, 2016 medical records at Cooley Dickinson Hospital in
  Northampton, MA obtained on July 8, 2016                                                      28
Exhibit "32", Copy of the January 8, 2018 letter mailed by the AGO Victim Compensation and
  Assistance Division Investigator, Atty. Kristal Rohloff, to Plaintiff                         28
Exhibit "33", Copy of first and second surgical opinions regarding Plaintiffs April 22, 2017 right
  knee injury dated respectively January 25, 2018 and March 14, 2018                            28
Exhibit "34", Copyof the email sent by^^^^mmiH to Plaintiff on August 11,2014....30
Exhibit "35", Copy of the CNN Politics article "Trump decries immigrants from 'shithole
  coimtries' coming to US" written by Eli Watkins and Abby Phillip and published online on
  January 12, 2018                                                                         30
Exhibit "36", Copy of the page Public Patent Information Retrieval of the U.S. Patent and
  Trademark Office's website as it appeared on August 7, 2019                              31
Exhibit "37", Copy of the page                                                   PacerMonitor
  website as it appeared on August 7, 2019                                                 32
Exhibit "38", Copy of the Nature World View article " Universities show their true colours in
  court" written by Dr. Steven Piantadosi and published online on July 1, 2019             32
Exhibit "39", Copy ofthe Science article "What's in a name?" written by Melissa McCartney and
  published on August 9, 2019                                                              34




Ust ofExhibits
            Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 6 of 40
Memorandum inSupport ofSecond MotionforImpoundment   v. UMass-Amherst andthree other DefendantsJ)81219




Affidavit

Plaintiff is represented pro se and avers, under the pains and penalties of perjury, that the
statements herein are true.


Respectfully sworn under oath,
/s/l




Affidavit
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 7 of 40
Memorandum inSupport ofSecond Motionfor Impoundmentv. UMass-Amherst andthree other Defendants_0812I9




Procedural History

    1. On April 22, 2019, Plaintiff filed a complaint for damages with a demand for a jury trial
         (Dkt. No. 2). This complaint was accompanied with a petition for impoundment of the
         records of this case and an in-camera hearing to argue this motion (Dkt. No. 4).

    2. On June 19, 2019, Plaintiff received an order entered on June 17, 2019, denying without
         prejudice the motion forimpoundment with anin-camera hearing to present argument (Dkt.
         No. 9). This order also informed Plaintiff that she had until July 12, 2019 to resubmit a
         motion for impoundment supported with a memorandum of law.

    3. On July 3, 2019, Plaintiff filed a motion for extension of the July 12, 2019 deadline to
         September 12, 2019 (Dkt. No. 14).

    4. On July 18, 2019, Plaintiffreceivedan order enteredon July 15, 2019 denying the motion
         for extension until September 12,2019 but allowing it until August 12,2019 (Dkt. No. 15).

    5. On August 12, 2019, Plaintifffiled a second motion for impoundment supported with the
          instant memorandum. Plaintiff also submitted a motion for leave to file this memorandum

          under the pre-ordered seal with an ex-parte review to avoid disclosing protected
          information as well as her strategy to the Defendants and the public.




Procedural History
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 8 of 40
Memorandum in Support ofSecond Motionfor Impoundment        v. UMass-Amherst andthree other Defendants_0812I9




Argument


Preliminary
    6. Plaintiff would like to move for a confidential litigation for as long as this Honorable Court
           will deem it required. Plaintiff is aware of the alternative of filing a motion for leave to
           litigate using a pseudonym. However, the level of confidentiality requested by Plaintiff
           consists in keeping away from the public's eye the records of the case 3:19-cv-30056-
           MGM, which the practice of proceeding anonymously will not fulfill.

     7. As a valid legal reasonthat can outweigh the public's interest in openjudicialproceedings,
           Plaintiff asserts a reasonable fear ofsevere harm from litigating this case without restricting
           the public's right of access to court filings.

Standard for ruling on an impoundment motion
     8. Plaintiffs research indicates that the First Circuit has not yet explicitly set out for courts
           an ad hoc test governing requests to conduct litigation under seal. The legal standard of
           establishing the existenceof exceptionalcircumstances precludingcourt recordsdisclosure
           has been articulated by the First Circuit in F.T.C. v. Standard Financial Management
           Corp., 830 F.2d 404, (P' Cir.1987) when the government is a party. "Public access to
           Judicial records and documents allows the citizenry to 'monitor the functioning of our
           courts, thereby ensuring quality, honesty and respect for our legal system.' ... The
           appropriateness of making court files accessible is accentuated in cases where the
           government is a party ... the public's right to inspectsuch records is not absolute. It can be
           blunted if'court files might... become a vehicle for improper purposes,'... or where access
           could interfere with the administration of justice.... We agree with the Sixth Circuit that
           '[o]nly the most compelling reasons can justify non-disclosure of judicial records.' ...
           When faced with a claim that cause sufficiently cogent to block access has arisen, it falls
           to the courts to weigh the presumptively paramount right of the public to know against the
           competitive private interests at stake.... This balance must be struck of course, 'in light of
           the relevant facts and circumstances of the particular case.' ... The objectors—^those
           seeking to keep the datum hidden from view—must carry the devoir of persuasion." See
           F.T.C. V. Standard Financial Management Corp., supra at 410-411.


Areument
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 9 of 40
Memorandum inSupport ofSecond Motionfor Impoundment          v. UMass-Amherst andthree other Defendants_08I219




    9. The First Circuit complemented this standard in Siedle v. Putnam Investments, Inc., 147
           F.3d 7      Cir.1998). "Though, the public's right of access to such materials is vibrant, it
           is notunfettered. Important countervailing interests can, ingiven instances, overwhelm the
           usual presumption and defeat access.... It follows that when a partyrequests a sealorder,
           ... a court must carefully balance the competing interestthat are at stake in the particular
           case.... The merefactthatjudicialrecords mayrevealpotentially embarrassing information
           is not in itself sufficient reason to block public access.... Suffice to say that the interest in
           preserving a durable barrier against disclosure of privileged attomey-chent information is
           shared both by particular htigants and by the public, and it is an interest of considerable
           magnitude. Indeed, this is precisely the kind of countervailing concern that is capable of
           overriding the general preference for public access to judicial records." See Siedle, 147
           F.3d7atI0-lI.


     10. Nonetheless, the abovementioned standard does not exhaustively identify the pertinent
           factors to analyze when calculating the existence of "sufficiently compelling reasons to
           warrant cloaking the documents in secrecy" or "special circumstances adequate to
           overcome the presumption of public accessibility." See F.T.C., 830 F.2d at 412-413.
           Thence, Plaintiff will also refer {see below) to the Uniform Rules of Impoundment
           Procedure ("URIP") in the Commonwealth of Massachusetts, also known as the
           Massachusetts Trial Court Rule VIII.


     11. "The decision to impound is 'always the exception to the rule [of publicity],' [see
           Republican Co. v. Appeals Court, 442 Mass. 218, 223 (2004)], and must be bom of the
           particular facts and circumstances of a given case." See NewEngland Internet Cafe, LLC
           V. Clerk of the Superior Courtfor Criminal Business in Suffolk County, 462 Mass. 76, 85
           (2012). The presumption of publicity of judicial records is not absolute and may be
           restricted on a showing of cause relying on the performance of the balancing test set forth
           in URIP 7(b). 'To determine whether good cause is shown [to restrict public availability
           to court records], a judge must balance the rights of the parties based on the particular facts
           of each case, [see Boston Herald, Inc. v. Sharpe, 432 Mass. 593, 604 (2000)] and take into
           account aU relevant factors, including but not limited to, the nature of the parties and the
           controversy, the type of information and the privacy interests involved, the extent of



Areument
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 10 of 40
Memorandum inSupport ofSecond Motionfor Impoundment         v. UMass-Amherst andthree other Defendants_08I219




           community interest, and the reason for the request.... A party's constitutional rights,
           investigative secrecy, and the safety of a person or the public are also concerns.... A
           legitimate expectation of privacy ordinarily is sufficient to constitute good cause.... [But
           ajllegations of potential embarrassment, or thefear of unjustified adverse publicity, are not
           sufficient to constitute goodcause."SeeCommittee Notes on URIP 8(a). The partyurging
           impoundment or continued impoundment of records always bears the burden of
           demonstrating the existence of good cause. See Committee Notes on URIP 10.

     12. "If there is good cause to impound court documents, a judge is required to tailor the scope
           of the impoundment order so that it does not exceed the need for impoundment." See
           Boston Herald, Inc., 432 Mass, at 605. In this regard, the Committee Notes relative to URIP
           8(c) indicate that "[i]f the court determines that good cause is shown, the court must tailor
           the scopeof the impoundment orderand limit it to the requirements of the case's particular
           facts and circumstances.... (burden falls on party seeking impoundment to demonstrate that
           the impoundment orderis narrowly tailored).... Impoundment should be no more extensive
           than necessary. Although it is often easier to impound more than is necessary, the court
           shouldbe careful to impound only the portions of the record that require impoundment. An
           entire case record should not be impounded to protect the confidentiality of some
           documents. An entire filing should not be impounded to protect the confidentiality of an
           exhibit. When possible, redacted versions of impounded documents should be filed. The
           court should be skeptical of arguments that following proper procedures is too
           cumbersome."


     13. In accordance with the Massachusetts Impoundment Procedure, "Medical, Health and
           Hospital Records" as well as "Trade secrets and other matters in connection with
           discovery" are listed as "material that a statute, court rule, or standing order designates
           must be withheld as 'impounded,' 'withheld firom public inspection,' 'not available for
           public inspection,' 'confidential,' 'segregated,' or 'sealed.'"

     14. The Uniform Practice 1 "Clerk's Handling of Impounded Material," included in the
           Massachusetts Impoundment Procedure, recommends at section (A)(5) that "[wjhen an
           entire case record is impounded, its docket number and a case caption shall remain public.
           The case caption shall be revised to omit the parties' names."


Argument
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 11 of 40
Memorandum in Support ofSecond MotionforImpoundment        v. UMass-Amherst and three other Defendants_08I2I9




URIP Balancing test to determine whether good cause exists
The nature of the parties and the controversy
     15. The parties involve, for the Defendants, employees of a state public university in
           Massachusetts who are members of the upper class and/or high-profile public figures. One
           of the four defendants. Dr. Derek Lovley, has been regularly for more than a decade among
           the ten highest-paid state employees in Massachusetts. Plaintiff has repeatedly been told
           directly and indirectly that Dr. Lovley is a "very powerful" individual who is above the
           law. Recently, Dr. Lovley was cited in an article of The New YorkTimes "Wired Bacteria
           Form Nature's Power Grid: 'We Have an Electric Planet'" written by Carl Zimmer and
           publishedon July 1, 2019 (Exhibit "01").

     16. On theopposite side stands Plaintiff: an individual representing herself whilst exhibiting a
           multi-layered vulnerability stemming from being a non-immigrant foreigner whose native
           language is notEnglish; without family or friends; indigent; undocumented; dark-skinned;
           and female. Whence, a stark power imbalance between Plaintiff and the Defendants in
           terms of access to resources and influencers, which puts Plaintiff at a substantial and
           fundamentally unfair disadvantage.

     17. The article "Professor says Harvard was warned of abuse" written by Beth Healy and
           Deidre Femandes, published in the edition of May 25, 2019 of The Boston Globe
           (Exhibit "02"), describes the type of power disparity faced by Plaintiff. "... some Faculty
           and graduate students ... have raised alarms and staged protests about the problems faced
           by graduate students at the hands of the powerful professors who are supposed to be
           their mentors.... For graduate students, reporting misconduct by a professor can be
           particularly fraught. Professors and department chairs guide their research and apply for
           grants that can help fiind their pay. They also provide important recommendations for
           future positions, and help students establish contacts that can propel their careers. At
           Harvard, that power imbalance can be magnified even further: Professors are often
           superstars in their fields ... graduate students said. 'The power relationships in
           academia are difficult. Your supervisor has aU control over your career,' ...."
           (Emphasis added). Even if Plaintiff was a professional researcher (and not a graduate
           student any longer) when she worked in the Lovley lab (and where Dr. Lovley was


Areument


                                                      10
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 12 of 40
Memorandum inSupport ofSecond Motionfor Impoundmentv. UMass-Amherst andthree other Defendants_08I2I9




           supposed to be her "mentor"), these observations directly apply to Plaintiffs
           circumstances.    Furthermore,    and The       Boston     Globe's article   abovementioned,
           unfortunately, does not refer to this paramount factor, for graduate students and postdocs
           who are not immigrants or U.S. citizens, the situation is worse; particularly whenthey are
           not self-supporting. They are at the mercy of the Faculty who have voluntarily admitted
           them in the programs in which they showed interest. Literally and figuratively, non
           immigrant foreign mentees are on ejection seats controlled by two sponsoring entities:
           hosting institutions, directly, and mentors, indirectly.

    18. Plaintiffbelieves it is relevant to emphasize that U.S. educationaland research institutions
           rely for the success of their programs on a substantial number of non-immigrant foreign
           students and postdoctoral researchers. These non-immigrants are usually systematically
           recruited when they are self-supporting (via e.g., their own governments, and/or foreign
           private foundations/organizations/corporations, and/ortheirpersonal savings). However, a
           significant fraction of these non-immigrants, not externally funded, also successfully
           competes with the supply of students and postdocs who are U.S. citizens or immigrant
           foreigners. Yet,this lattercategory of non-immigrants is overlooked: its treatment is rarely
           investigated or documented in the U.S. press. Following the emergence of the
           #MeTooSTEM movement. Nature, the first worldwide leading scientific journal, published
           on November 22, 2018 in its editorials "Protect postdocs. A survey of young scientists in
           the United States highlights the exploitation of visa holders." This article, pre-published
           online on November 21, 2018 under the title "Stop exploitation of foreign postdocs in the
           U.S." (Exhibit "03"), explains why the power disparity is aggravated when the postdoc is
           a non-immigrant who is not self-supporting. "Some Pis are exploiting the fact that
           overseas scientists rely on them for continued visas.... senior scientists are using this
           reliance to force postdocs to work longer hours and endure unacceptable conditions. The
           following was said to the study's authors by a postdoc at a US leading university: ... 'Our
           PI creates this pressure-cooker environment in our lab ... you see the foreign postdocs
           sleeping on the floor of the labs, working 100-plus hours a week... Pis know what they are
           doing ... they take advantage of these guys.' Here is the view of a university administrator:
           I see something bad almost every week and it seems to be getting worse ... postdocs come
           into my office and ask me if this or that seems wrong to me ... the visa issue is a big one

Argument


                                                      11
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 13 of 40
Memorandum in Support ofSecond MotionforImpoundment        v. UMass-Amherst and three other Defendants_081219




           because foreign postdocs are afraid to report their Pis ... these are small scientific
           communities and Pis will blackball their postdocs if you cross them.' ... Most
           estimates agree that about half of the postdocs working the in Unites States are
           overseas visitors who rely on short-term visas. Institutions typically sponsor the
           renewals and extensions. This is largely done by individual departments and lab heads,
           with universities' central administrations having httle formal role in the recruitment and
           experiences ofpostdocs. Thisputs seniorscientists in a position ofpower. None should
           use this as leverage against lesssenior colleagues—^many of whom are far from home
           and vulnerable." (Emphasis added).

     19. Plaintiffs analysis of the nature of the parties and the controversy would be incomplete if
           she did not point out that the most part of these non-immigrant foreign postdocs, funded
           externally or not, invited in routine to perform research at the U.S. most prestigious
           institutions, will end up positioned on tenure-track paths, and concomitantly sponsored to
           immigrate to the U.S., by these same institutions. On this aspect, the Royal Society
           President, Dr. Venkatraman Ramakrishnan, in a correspondence to Nature "Royal Society
           president stands up for Chinese scientists in the United States" pre-published online on
           July 16,2019and published onJuly 18,2019 (Exhibit "04"), reminded thefollowing facts.
           "Open societies have benefited immeasurably from an influx of international
           scientists. The rapid exchange of ideas and expertise depends upon such movement,
           as do innovation and economic growth.... About one-quarter of US National Academy
           of Sciences members and one-quarter of US Nobel prizewinners were bom abroad —
           and many more are children of immigrants. Three of the past five presidents of the
           RoyalSociety in Londoncame from overseas, myselfincluded: I'm an Indian-bom US and
           British national." (Emphasis added). Dr. Toshiyuki Ueki, another defendant in Plaintiffs
           complaint, is a Japanese-bom U.S. national, who almost twenty years ago was recmited by
           Dr. Lovley to carry out postdoctoral research in his lab while participating in the U.S.
           Exchange Visitor Program ("U.S. EVP") also known as the U.S. non-immigrant J-1 Visa,
           in the same manner that Plaintiff was in Febmary 2014. In March 2014, Dr. Ueki was
           promoted Research AssistantProfessorby Dr. Lovley himself in his own lab with UMass-
           Amherst sponsoring him for U.S. immigration. Dr. Lovley, like the last individual
           Defendant, Dr. John Lopes, is a descendent of immigrants.


Argument


                                                      12
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 14 of 40
Memorandum inSupport ofSecond Motionfor Impoundmentv. UMass-Amherst andthree other Defendants_P81219




    20. The above-cited May 25, 2019 Boston Globe article (Exhibit "02") reports that"Blyth, in
           his letter, said that the bravery for a doctoral student to complaint about a top professor
           rivals what Hollywood actors had to summon in the face of Harvey Weinstein's alleged
           sexual harassment." This comparison sets straight the sharp unequal power dynamics in
           the instant dispute. However, in her Baffler online article "Surely, You're a Creep, Mr.
           Feynman" published on January 8, 2019 (Exhibit "05"), Leila McNeill remarkably
           pinpoints a particular component—"the popular conception of the genius mythos in the
           science"—at playin the"powerdifferentials" at issue: "Genius is a familiar termin science
           too. It's been applied generouslyto male scientists throughouthistoryto the present.... For
           a long time, their contributions to science—^the evidence of theirputative genius—excused
           their crimes."


    21. In sum, in a type of controversy where contours are shaped by accusations of sexual
           harassmentor white-collarlabor exploitation human trafficking,from students or postdocs,
           against publicly prominent professors. Defendants have quasi-unlimited influences—^pre-
           tipping the scale favorably on their side—that generally become unfettered when Plaintiffs
           are non-immigrants who are not self-supporting.

The type of information and theprivacy interests involved
    22. Since June 2014, Plaintiff has been attempting to obtain a fair hearing to expose the
           misconduct of Dr. Lovley who had offered to mentorher in the U.S. EVP governed by the
           U.S. Department of State ("DOS"). All aspects in this academic misconduct (fraudulent
           inducement of employment, plagiarism, refusal to credit Plaintiffs contributions, smearing
           Plaintiffs reputation after she began reporting unethical behaviors, blackballing, etc.)
           converge to the conclusion that Plaintiff was victim of white-collar labor exploitation
           human trafficking.

    23. Even though to date Plaintiffs research for relevant similar legal cases has remained
           unfruitful, recent efforts of scientific communities to bring this type of exploitation to light
           offer guidance. See in the aforesaidNovember22,2018 Natureeditorial: "None should use
           this as leverage against less senior colleagues—many of whom are far from home and
           vulnerable." In the same vein, another press article "Academia is built on exploitation. We
           must break this vicious circle" published online by the Guardian on May 18, 2019 and


Argument


                                                      13
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 15 of 40
Memorandum inSupport ofSecond Motionfor Impoundment        v. UMass-Amherst and three otherDefendants_081219




           noticeably anonymously signed, presents a variant in academic labor exploitation human
           trafficking, integral in Plaintiffs case (Exhibit "06"): "Our universities claim to exist to
           provide our most brilliant minds the freedom to nurture their greatest ideas and
           inspire the next generation.... Sadly, students are also vulnerable to the theft of data,
           ideas and materials; not only by their colleagues, hut sometimes by their own
           supervisor.... I once witnessed an incidentthat still saddens me. We had an undergraduate
           from overseas studying with us. To support his work, he had brought some samples
           with him. One of the PhD students was appointed to supervise him. However, once the
           students got hold of his samples, the young visitor was virtually abandoned. The PhD
           students and professor were able to extract some useful data from the samples, yet
           the undergraduate remained excluded from all their success. I soon heard that the
           student had returned home with nothing to show for his stay with us. Before he left,
           he reported the theft of his samples and his subsequent exclusion from any research.
           The incident was reported, but no action was taken against those responsible.... the wider
           community would be shocked to know this behaviour was so prevalent at the very highest
           level of education. The community expects so much more from people calling themselves
           'doctor' or 'professor'. The current model of postgraduate research is severely flawed
           and should he urgently addressed. If we don't, the vicious circle will continue."
           (Emphasis added). Once again, even though Plaintiff was at all relevant times a postdoc,
           the situation described in this article captures the essence of what was done to Plaintiff.
           After having been invited to perform in the Lovley lab research projects she had devised
           herself, the promises made to Plaintiff (e.g., she would be supported on a U.S. Department
           of Energy grant for a year, establishing an independent researcher career path, credited for
           her contributions, etc.) were never honored. Plaintiff had earned this invitation based on
           the content of her brain; she did not make a donation and did not offer sexual favors in
           exchange for it, nor did she have an influential individual intervene to sway Dr. Lovley
           into selecting her. Plaintiff did not come empty-handed and contributed in the extremely
           short and challenging time (about four months under nearly constant hostile workplace
           harassment) she was actually allowed to work in this lab. Yet, Plaintiff ended up as a victim
           of violent crimes with her early academic career completely ruined.




Argument


                                                      14
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 16 of 40
Memorandum inSupport ofSecond Motionfor Impoundment          v. UMass-Amherst and three otherDefendants_081219




    24. Specifically, once Plaintiff began figuring out that she had in fact walked into a trap, all
           her efforts to save her researcher career resulted in causing her only more harm to the point
           that she was unlawfully removed from the U.S. EVP and became undocumented. While
           attempting to retrieve a valid program status. Plaintiff had to fight another type of
           exploitation, "commercial sex" under the guise of marriage to a U.S. citizen, into which
           predators, who had become aware of PlaintifFs additional layer of vulnerability, tried to
           coerce her.


    25. Plaintiff, in the course of the abusive scheme of Dr. Lovley, also found out that this
           professor'sresearch misconduct expanded to the realmof federal grant application frauds.
           For instance, federal funds awarded to Dr. Lovley, to perform specific experimental plans,
           were re-allocated—following changes in research directions that Plaintiff suspects were
           not disclosed to federal grantors—^to support research efforts that consisted in
           implementing direct conversions of Plaintiff's research projects and/or early findings. As
           a result. Plaintiff became unwittingly a whistleblower.

     26. Plaintiffs petitions for assistance while she was still in valid U.S. EVP status (or while she
           could still be reinstated to valid program status), yielded additional reprisals by the
           trafficking entity with, ironically, harmful inaction (non-enforcement of the rules, violation
           of due processrights, untimelyprotracted proceedings, etc.) by the agencies contacted.The
           patterns underlying this refusal to act reveal a sprawlingconcerted effort at obstructing the
           due administration of justice that have caused Plaintiff to become again, unwittingly a
           whistleblower, this time with respect to corruption at state and federal agencies.

             i.    On October 7, 2014, a then Massachusetts Commission Against Discrimination
                   ("MCAD") investigator, Atty. Olga Serafimova, after finding evidence of
                   retaliation against Plaintiff, tried to convince Plaintiff to resign (Exhibit "07"): "...
                   we are getting close to reaching an impasse and unfortunately you need to decide
                   which is the lesser evil - take this offer, however unfair, or proceed and have to
                   leave at the end of January anyway. I know this is a difficult decision to make, but
                   unfortunately it is the situation in which you are [sic] in.". Once Plaintiff reasserted
                   her refusal, instead of issuing a determination as she had promised, Atty.
                   Serafimova informed Plaintiff on November 13, 2014 that "[ujnfortunately, this


Argument


                                                      15
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 17 of 40
Memorandum inSupport ofSecond Motionfor Impoundment              v. UMass-Amherst and threeotherDefendants_08I219




                  case [was] in the process of being reassigned to a different investigator."
                  (Exhibit "08"), Very shortly after this announcement, Atty. Serafimova left the
                  MCAD for privatepractice at the RoyalLaw Firm in Northampton, MA. This firm
                  represents pubhc schools, local organizations and corporations. While working at
                  Royal, P.C., Atty. Serafimova was invitedby UMass-Amherst on March 1,2016 to
                  "participate in a panel discussion on whistleblower protection legislation. The
                  discussion introduced UMass Amherst MBA students and members of the

                  community to the historic development of such legislation, the various contexts in
                  which whistleblowing is legally protected, the legal elements of a retaliation claim,
                  and what business owners and employers can do to minimize the risks of such
                  litigation." (Exhibit "09"). Incidentally, Atty. Serafimova has a strong Bulgarian
                  accent, which has made Plaintiff wonder whether, like Plaintiff, she was in the past
                  a participant in the U.S. EVP/non-immigrant J-1 Visa, or immigrated to the U.S. to
                  perform her post-secondary school studies.

            ii.   On May 1, 2015, while preparing an in-person investigation conference scheduled
                  on May 7, 2015 as a result of filing a second' pre-complaint at the Department of
                   Labor Relations ("DLR") on March 24, 2015 (Exhibit "10")^, Plaintiff found
                   (Exhibit "11") that the U.S. EVP is regulated by Part 62 of Title 22 (Foreign
                   Relations) of the U. S. Code of Federal Regulations. Based on both 22 CFR
                   62.10(c)(8) "Orientation. A sponsor must offer and record participation in an
                   appropriate orientation for aU exchange visitors. Sponsors are encouraged to
                   provide orientation for the exchange visitor's accompanying spouse and
                   dependents, especially for those exchange visitors who are expected to be in the
                   United States for more than one year. Orientation must include, but is not limited



' A first pre-complaint was filed by Plaintiff at the DLR three weeks earlier, on March 3, 2015, because the Union of
the UMass-Amherst postdoctoral researchers violated its duty of fair representation.
^ The gravamen of this second DLR pre-complaint relates to the unlawful denial by UMass-Amherst International
Programs Office ("IPO") to extend Plaintiffs EVP after she was offered on February 10, 2015 an opportunity to
continue her efforts (that had been stymied by Dr. Lovley to prevent her from achieving the goals of her program)
under the mentorship of Dr. Alexander Ribbe, a lecturer of the Polymer Science and Engineering Department of
UMass-Amherst College of Natural Sciences. The requested program extension required a simple internal transfer
that would have changed only Plaintiffs onsite location and had the interest of rescuing Plaintifffrom the ending—
without career accomplishments—ofher program, a failure into which Dr. Lovley had actively been trying to force
Plaintiff since April 2014.


Argument


                                                         16
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 18 of 40
Memorandum inSupport ofSecond Motionfor Impoundment        v. UMass-Amherst and threeotherDefendants_081219




                  to, information concerning: ... Wilberforce Pamphlet on the Rights and Protections
                  for Temporary Workers," and 22 CFR 62.10(d) "Monitoring of exchange visitors.
                  Exchange visitors' participation in their exchange program must be monitored by
                  employees of the sponsor. Monitoring activities must not include any retaliation or
                  discrimination against exchange visitors who make adverse comments related to
                  the program. No sponsor or employee of a sponsor may threaten program
                  termination, remove from the program, ban from the program, adversely annotate
                  an exchange visitor's SEVIS record, or otherwise retaliate against an exchange
                  visitor solely because he/she has filed a complaint; instituted or caused to be
                  instituted any proceeding; testified or is about to testify; consulted with an advocacy
                  organization, community organization, legal assistance program or attorney about
                  a grievance or other work-relatedlegal matter; or exercised or asserted on behalf of
                  himself/herself any right or protection," a reasonable mind can infer that DOS is
                  aware that the U.S. EVP is being abused for "Human Trafficking." The
                  "Wilberforce Pamphlet" referenced in 22 CFR 62.10(c)(8), comprised in May 2015
                  of two documents—a PowerPoint presentation "Wilberforce Final Version
                   20140429" and a "Wilberforce Pamphlet English Online Reading Version 12-22-
                   2014"—downloadable from the official U.S. non-immigrant J-1 Visa website
                   (https://jlvisa.state.gov/sponsors/current/regulations-compliance/),           which       are
                  provided (Exhibit "12"). The PowerPoint presentation "Wilberforce Final Version
                   20140429," remarkably reads at slides 11,19,23, and 29: "Your Rights, Continued:
                   7. Report violations of these rights 8. Receive protection under state and federal
                   law 9. Seek justice in U.S. courts;" "Human Trafficking It is a crime to exploit a
                   person through force, fraud or coercion for labor, services, or commercial sex;"
                   "Employers Should Not: Lie about your working conditions or duties, housing, or
                   wage Deny your rights and ability to get help;" "We value the diverse skills and
                   experience that nonimmigrant workers bring to our country. We want your time in
                   the United States to be rewarding. WE ALSO WANT YOU TO BE SAFE." The
                   second document "Wilberforce Pamphlet English Online Reading Version 12-22-
                   2014" on page 11 answers to the question "Will I be deported ifI report the abuse?"
                   as follows: "There are programs to protect people who report abuse. You should



Argument


                                                      17
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 19 of 40
Memorandum inSupport ofSecond Motionfor Impoundment            v. UMass-Amherst and threeotherDefendantsJ)81219




                  not be afraid to seek help even if you have immigration concerns." Based on this
                  information, Plaintiff contacted DOS on June 2, 2015. Against all odds, DOS in a
                  determination^ that it rendered about two months later, on August 5, 2015,
                  insinuated that the sponsoring institution UMass-Amherst had accused Plaintiffof
                  having committed infractions to its rules to justify why it had removed Plaintiff
                  from the U.S. EVP (See Exhibit "13" at page 4): "As set forth in 22 CFR 62.10(d),
                  Exchange Visitor Programsponsorsmaynot removefrom the programor otherwise
                  retahate against an exchange visitor solely because he/she has filed a complaint or
                  taken one or more of the other actions described therein. OPA found no credible

                  evidence to suggest that the University of Massachusetts Amherst violated this
                  regulation. Pursuant to 22 CI^ 62.40(3), if an exchange visitor violates the
                  sponsor's rules governing the program, a sponsor may terminate an exchange
                  visitor's SEVIS record if, in the sponsor's opinion, termination is warranted. Instead
                  of terminating your SEVIS record, the University of Massachusetts Amherst
                   allowed you to complete the one (1) year Postdoc contract and provided you five
                   (5) months' notice of intent not to renew their employment agreement with you. In
                   addition, the University of Massachusetts Amherst took steps to facilitate your
                   transfer to Morgan State University." Moreover, DOS, in complete contravention
                   of due process law, did not permit Plaintiff to know what violations the sponsor had
                   alleged. To Plaintiffs repeated requests, submitted on November 6, 2015;
                   December 4,2015; and December 14, 2015 (See Exhibit "13" respectively at pages
                   3, 2, and 1), for "a copy of the position statements of the respondents as weU as of
                   the exhibits they supplied ... to substantiate their statements," Plaintiff finally
                   received on December 15, 2015, as a response: 'Thank you for your patience. As
                   it pertains to the review of your complaint, OPA maintains the authority to
                   determine the legitimacy of documents submitted by both parties. Sharing the
                   documentation between the complainant and sponsor to determine if documents are



^ Plaintiff contacted DOS on June 2, 2015 and sent on June 4, 2015 a summary of her situation as requested by Mark
Howard, the lead program analyst at the Office of Private Sector Exchange Administration of DOS Bureau of
Educational and Cultural Affairs, earlier on that same day. The day atfer, June 5, 2015, Mr. Howard construed
Plaintiffs summary as a complaint and filed on her behalfwithout asking herauthorization a formal complaint which
number is 15604 and he cancelled the phone conversation that he had agreed to have with Plaintiff.


Argument


                                                       18
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 20 of 40
Memorandum inSupport ofSecond Motionfor Impoundment            v. UMass-Amherst andthree other Defendants_08I219




                   falsified and/or fabricated is not currently part of OPA's review process." {See
                   Exhibit "13" at page 1). As a result, said infractions to the sponsor's rules and the
                   alleged supporting evidence, have remained unknown to Plaintiff making it
                   impossible for Plaintiff to rebut these false allegations. Of the utmost importance,
                   although the regulations specify in 22 C.F.R. 62.10(c) what information
                   "Orientation" must include. Plaintiff never received from UMass-Amherst:
                   "Sponsor rules that exchange visitors are required to follow while participating in
                   their exchange visitor program," {cf. 22 C.F.R. 62.10(c)(5)); "The Office of
                   Designation's address, telephone number, facsimile number. Web site and email
                   address, and a copy of the Exchange Visitor Programbrochure or other Department
                   of State materials as appropriate or required," (c/. 22 C.F.R. 62.10(c)(7)); and
                   "Wilberforce Pamphlet on the Rightsand Protections for Temporary Workers," {cf.
                   22 C.F.R. 62.10(c)(8) and Exhibit "12"). Similarly, as of today. Plaintiff still has
                   not found any ofthe programs "to protect people who report abuse" mentioned in
                   the second Wilberforce Pamphlet document (Exhibit "12").

            iii.   On February 10, 2015, Plaintiff was referred to the Massachusetts Attorney
                   General's Office ("AGO") by a then UMass-Amherst student from Kazakhstan,
                                                  who had recently been removed from his program after
                   filing a complaint at the MCAD against UMass-Amherst. At that time, both^^^
                   and Plaintiff had found out at their own expenses that, in cases involving non
                   immigrants, Unions (for graduate students like for postdoctoral researchers) on
                   UMass-Amherst campus collude with the administration, whereas the MCAD,
                   quoting             "is in cahoots with UMass." On that day,||||||||| urged Plaintiffto
                   go to the Civil Rights Department of the AGO, where he had found help. Thus, a
                   complaint filed there by Plaintiff on February 24, 2015 (Exhibit "14")"^. No result
                   occurred for Plaintiff, as this fust AGO complaint was summarily denied less than
                   24 hours later (Exhibit "15"). Conversely, injjHH's case, a "powerful attorney"


^This complaint, filed a monthbeforethe secondDLR pre-complaint filed on March24, 2015mentioned earlier, had
the purpose of attempting to avert UMass-Amherst's efforts to prevent the extension of Plaintiffs program via an
internal transfer to the Polymer Science and Engineering Department of UMass-Amherst College of Natural
Sciences. The original complaintlike the suppliedcopy reads that it was signed on "022414" but this is a mistake as
this complaint was actually signed and filed on February 24,2015.


Argument


                                                         19
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 21 of 40
Memorandum inSupport ofSecond Motionfor Impoundment               v. UMass-Amherst and three otherDefendantsJ)8I2I9




                  of the AGO, who Plaintiff believes to be the then Regional Chief of the Western
                  Massachusetts Division, Bart Hollander, intervened (by making a phone call to
                  UMass-Amherst International Programs Office) enabling H^B's reinstatement in
                  hisprogram in 2015 (Exhibit                         successfully completed hisprogram and
                  graduated in May 2016 (Exhibit "17"). Nowadays,                                is a public health
                  coordinator at North Slope Boroughin Alaska (Exhibit "17" and Exhibit "18").

            iv.   On November 12, 2015, Plaintiff filed a second complaint at the AGO (Exhibit
                  "19")5            the welcoming desk employee "Margarita" brought her

                  complaint directly to the unique investigator of the Civil Rights Department of the
                   AGO Western Division, Richard Steward, instead of bringing it to a paralegal
                   assistant like the first complaint filed there by Plaintiff about nine months earlier
                   on February 24, 2015. Mr. Steward offered to meet with Plaintiffand came alone.
                   At this first face-to-face, Mr. Steward acknowledged remembering the name
                                                      and showed interest in investigating Plaintiffs second
                   complaint. Mr. Steward, in addition, knew what being a postdoctoral researcher
                   entails because he volunteered the information that his daughter was also at that
                   time a postdoctoralresearcher in Biology in Boston, MA. From there began what
                   appeared to be a serious unbiased investigation during which Mr. Steward, in an
                   email sent on February 11, 2016 (Exhibit "20"), corroborated that the crux of the
                   avalanche of repercussions assailing Plaintiff emanated from academic misconduct
                   and explained that his investigation was highly confidential. "Anything that you
                   can do to help me make a presentation to people not familiar with biology and not
                   familiar with the general field of scientific research would be helpfiil. I have spoken
                   to someone whom I would trust with my life about getting a biologist or a



^ This second AGO complaint, similarly to the first AGO complaintfiled on February 24, 2015, had the purpose of
attempting to avert UMass-Amherst's efforts to prevent the reinstatement of Plaintiffin the U.S. EVP, this time to
pursueher goals under the mentorship of Dr. Jeffrey Blanchard, on Faculty at the Biology Department of UMass-
AmherstCollegeof Natural Sciences. Followingthe denial of UMass-Amherst IPO—learned by Plaintiffon February
13,2015—^to extendher programand internally transfer her to the UMass-Amherst PolymerScienceandEngineering
Department (with Dr. Ribbe as her mentor). Plaintiffwas, on February 27, 2015, externally transferred to the U.S.
EVP of Morgan State University(a Historical Black University in Maryland), at Morgan State University's request.
However, this external transfer, which would have extended Plaintiffs program, was not completed. Therefore, in
order to pursue her program. Plaintiff had to find another opportunity, which she did on June 1, 2015 with Dr.
 Blanchard. This time a reinstatement into the U.S. EVP, and not simply a program extension, was required.


Argument


                                                            20
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 22 of 40
Memorandum inSupport ofSecond Motionfor Impoundmentv. UMass-Amherst andthree other Defendants_08I2I9




                microbiologist to review what I put together. This personhas an advanced degree
                in science, but works in a different field than microbiology.... I need to have an
                outside 'third party' opinion so my superiors here, and other agencypersonnel
                to whom I may turn, will understand that this is not just 'your opinion.' That
                your information 'stands on its own.' I am aware of how dangerous an area in
                which we are working. I am going to be certain that I do nothing that would
                compromise your safety. I am also aware that I have much more experience at
                working in a dangerous field and as a result am more 'comfortable' with this
                experience. I know how trying this is for you. I am going to speak vdth a
                VictimAVitness Advocate in our Boston ofBce about your situation. At first I
                will speak in general terms without giving out your name and location. I will
                probably not even speak much about the type of matter in which you are
                involved. I want to first be certain that the Victim Witness unit actually has
                something to offer. I do not want to spread your information around except
                to those who absolutely need to know. I do not even leave your file in my office
                anymore. I carry it around with me. I speak only to one attorney here whom
                I trust completely. Given the very serious problems your information may
                cause personnel at UMass, I do not want to engage with police or Court
                employees whom I do not know and, therefore, cannot trust. Once the timelines
                are complete and I have the assurance of my own law enforcement people that
                something will be done, then we might re-engage with the local police authorities
                on the assault situation. I would have our own people take care of that because
                in general I do not deal with local police departments." (Exhibit "20"). However,
                little time afterwards, Mr. Steward would not return anymore Plaintiffs calls and
                became unwilling to meet again with Plaintiff. On April 22, 2016, more than two
                 months with no-follow up on his February 11, 2016 email (Exhibit "20"), Mr.
                 Steward finally accepted to meet with Plaintiff. But, for the first time, he did not
                 come alone: without warning Plaintiff, he invited Ms. Coles. Plaintiff did not ask
                 to reschedule the meeting; instead, she met alone with both Mr. Steward and Ms.
                 Coles. Mr. Steward radically changed his position, denied answers to Plaintiffs




Argument


                                                    21
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 23 of 40
Memorandum inSupport ofSecond Motionfor Impoundment             v. UMass-Amherst andthree otherDefendants_081219




                  questions about his prior promises, and did not send Plaintiffa writtensummary of
                  the content of this meeting.

            V.    On May 12, 2016, Plaintiffwho had been in contact withthe office of the then State
                  Representative of Springfield, MA, Benjamin Swan, filed a third AGO CivilRights
                  complaint (Exhibit "21")^- After filing this complaint. Plaintiff asked Margarita to
                  schedule a meeting with Mr. Steward in which she would be accompanied by Mr.
                  Swan. Margarita answered by threatening to call the Police on Plaintiff while
                  adding "and I know that's not good for you," if she did not leave. In a letter dated
                  May 19, 2016, addressed by Mr. Swan to Mr. Steward, Mr. Swan re-conveyed
                  Plaintiffs request for a meeting with both Plaintiff and himself that stayed
                  unanswered (Exhibit "22"). Consequently, on June 15, 2016, Plaintiff emailed Mr.
                   Steward while Cc'ing Assistant AG Peter Leigh and AG Maura Healey (Exhibit
                   "23"). Nine days later, on June 24,2016, Ms. Coles emailed Plaintiff a letter written
                  by the then AGO Western Massachusetts Division RegionalChief, Bart Hollander,
                   announcing, with no explanation, the closure of the investigation that had been
                   initiated by Mr. Steward (Exhibit "24").

            vi.    On October 29, 2015, in a recorded interview with two State Police employees.
                   Detective Gary Hebert and Sergeant Christopher Baran, at the office of the
                   Northwestern District Attorney ("DA") in Northampton, MA, Plaintiff sought
                   assistance as a victim of white-collar human trafficking for "brain potential
                   exploitation." Plaintiff also explained that because of the undocumented situation
                   into which she was constrained, members of the Amherst branch of the NAACP, to
                   whom was referred while searching for legal counsel, had been trying to coerce her
                   into marrying a U.S. citizen. Plaintiff had consistently categorically refused to
                   engage in this illegal practice but the persistence of nine Amherst NAACP



®This third and last AGO complaint filed six months after the second AGO complaint filed on November 12, 2015,
similarly to the second AGO complaint had the purpose of enabling the reinstatement of Plaintiff into the U.S. EVP,
that time to work at the Teaching Education & Curriculum Studies Department of UMass-Amherst College of
Education under the mentorship of|^||m||||||mimm. Contrary to the prior twodenied opportunities at UMass-
Amherst College of Natural Sciences (with Dr. Ribbe then with Dr. Blanchard), for which Plaintiff was supposed to
work on her personal savings until a grant would be obtained to support her,                      work offer was
supposed to be compensated via a state grant.


Argument


                                                        22
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 24 of 40
Memorandum in Support ofSecond Motionfor Impoundment        v. UMass-Amherst andthree other Defendants_081219




                   members-supporters had caused her to be physically attacked on September 30,
                   2015 and October 1, 2015 by one of them: a white male, then a UMass-Amherst
                   student, who had been sexually harassing Plaintiff since May 9, 2015. Further, to
                   deter Plaintiffs from reporting him, this predator had pre-emptively made false
                   accusations against Plaintiff that two UMass-Amherst Police Department
                   ("UMPD") officers hadcredited by altering evidence. Owing to conflicts of interest
                   (ensuing from Plaintiffs complaints against UMass-Amherst and the deducible
                   connections of the assailant with the two UMPD employees who hed to back his
                   accusations). Plaintiff was particularly in need of the assistance of a Law
                   Enforcement office independent of UMass-Amherst. Both Detective Hebert and
                   Sergeant Baran completely dismissed Plaintiffs brain potentialexploitation claim
                   and her concerns about conflicts of interest. Detective Hebert, however, on

                   November 2, 2015, informed Plaintiff of the existence, for crime victims, of
                   humanitarian relief if the crimes at issue resulted from perpetrators taking
                   advantage of the victims' undocumented status, and advised her to file a crime
                   report at the UMPD despite the conflicts raised by Plaintiff(Exhibit "25"): "Here
                   are the forms that you will need to look over. Again you would be applying for a
                   'U Visa' as a victim ofan assault and battery. You should contact the local police
                   in Amherst. If the incident occurred at the University, than it would be the
                   campus police that you would report the incident to." (Emphasis added). As
                   feared by Plaintiff, UMPD showed no interest in helping Plaintiff, which resulted
                   in the director of the Victim Witness Advocate Program ofthe Northwestern DA's
                   office, Jackie Gaw, advising Plaintiff on November 17, 2015 to go to the Eastern
                   Hampshire District Court ("EHDC") file an application for a criminal complaint on
                   her own in order to obtain a show cause hearing. On November 30, 2015, just after
                   paying the filing fee of said application at the EHDC, the first assistant of the Clerk-
                   Magistrate, Atty. Randall Smith, instantly summarily denied Plaintiffs application.
                   When Plaintiff, with tears in her eyes, asked him "why," Atty. Smith loudly yelled
                   at her: "You have a litany of complaints against UMass and there is nothing my
                   office can do for you! This has to be investigated by the Police!" and he did not
                   assign a docket number to Plaintiffs application or even made a written ruling on


Argument


                                                       23
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 25 of 40
Memorandum inSupport ofSecond Motionfor Impoundment        v. UMass-Amherst and three otherDefendantsJ)8I219




                  it in spite of having orally summarily denied it. About three years later, similar
                  offenses against justice occurring at the Massachusetts District Courts were
                  reported in an article "Inside the secret Courts" written by the Boston Globe's
                  Spotlight Team and published on September 30, 2018 (Exhibit "26"): "It is the
                  darkest comer of the Massachusetts justice system, where thousands of criminal
                  charges vanish without a trace. There are few mles and fewer records in these
                  closed sessions where who you are—or who you know—can matter more than
                  right and wrong. Clerk-Magistrates and their assistants hold private sessions
                  in which they can make criminal cases disappear, even when there is plenty of
                  evidence against the accused." (Emphasis added). The unjust not recorded
                  November 30, 2015 summary denial elicited a supplemental struggle for Plaintiff,
                  this time to obtain a show cause hearing. Mr. Swan brought again support to
                   Plaintiff by enabling her to obtain a meeting with Northwestem Assistant District
                   Attorney ("ADA") Jennifer Suhl in his presence on May 4, 2016. During this
                   meeting (into which, without waming Plaintiff, Detective Hebert, Sergeant Baran,
                   and Ms. Gaw were also invited), ADA Suhl agreed to send to Plaintiff a response
                   after reviewing the facts presented by Plaintiff. Nine months later, on February 3,
                   2017, ADA Suhl finally emailed a letter to Plaintiff that was exonerating the
                   misconduct of the UMass-Amherst Police (in this regard, on April 18, 2017 and
                   April 19, 2017, Plaintiff filed a rebuttal to the inaccurate statements in ADA Suhl's
                   February 3, 2017 letter; see Exhibit "27" at page 1) and advising Plaintiff to either
                   file a complaint at the Massachusetts Trial Court against Atty. Randall Smith or re-
                   file an application for a criminal complaint at the EHDC. On April 15, 2017,
                   Plaintiff who intended to follow the second option, asked ADA Suhl whether she
                   could change venues to file her second application for a criminal complaint {See
                   Exhibit "27" at page 3): "Based on the aforementioned conflicts of interest, I would
                   like to know please whether there is a rule that allows me to file my second
                   application in a District Court where the towns of Amherst and South Hadley have
                   no jurisdiction please. This could change everything for me." Atty. Suhl
                   answered three days later on April 18,2019 {See Exhibit "27" at page 2): "1 am not
                   aware of any rule that would allow you to file your private application for criminal


Argument


                                                      24
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 26 of 40
Memorandum in Support ofSecond Motionfor Impoundment             v. UMass-Amherst andthree other D^endants_08I219




                   complaint in anyotherDistrict Court given the law regarding jurisdiction." Thence,
                   Plaintiffresigned herselfto file her second application for a criminal complaint at
                   the contentious EHDC and informed ADA Suhl on April 18, 2017 that she was
                   planning to accomplish this that same week (See Exhibit "27" at page 2):
                   "Following yourrecommendation, I intend to have filed during this week a second
                   application for a criminal complaint as a private entity (the first one was filed on
                   November 30, 2015)." However, in an attempt to avoid being subjected again to
                   Atty. Smith's verbal aggressiveness. Plaintiff asked a then Christian fellow from
                   College Church in Northampton, MA to accompany her at the EHDC Clerk-
                   Magistrate's office on April 22, 2017, which wastheday chosen byPlaintiffto file
                   this second apphcationfor a criminal complaint. On April 22, 2017, as dreadedby
                   Plaintiff, the personnel of the EHDC Clerk-Magistrate's office displayed a serious
                   lack of cooperation. Regardless the hostility against her, Plaintiff persevered to
                   have her second application apparently filed^, which led to her being physically
                   attacked about 30 minutes after leaving this office. In rapid sequence. Plaintiff
                   sustained physical injuries and had to return the day after, April 23, 2017, to this
                   same hostUe office, to petition for a 10-dayHarassment Prevention Order ("HPO")
                   against the perpetrator of the April 22, 2017 physical attack. On May 5, 2017, at
                   the hearing for extension of the 10-day HPO granted on April 23, 2017^, another
                   manifestation of the EHDC personnel's recurrent bias against Plaintiff occurred.
                   The then First Justice, Thomas Estes, did not believe Plaintiff needed a HPO.
                   Plaintiff was flabbergasted at both the judge's reaction and the inaction of the
                   Amherst Police Department ("APD") liaison. Detective Tina Knightley', inthe face


^ In fact, this second application, like the first application Plaintiff tried to file on November 30, 2015, was never
formally filed. In addition, contrary to the November 30, 2015 application instantly summarily denied, the April 22,
2017 application did not receivea docket number. Then, on June 30, 2017, following multiple inquiries by Plaintiff,
Atty. Smith finallysummarily denied Plaintiff's secondapplication Jive weeks after it wassupposedlyfiled.
®On April 23, 2017, Judge Patricia Poehler, from her chambers at the Palmer District Court, allowed via a phone
hearing Plaintiffs 10-day HPO petition.
' Unlike the September30, 2015 and October 1, 2015 misdemeanor, the April 22, 2017 felonyoccurred in Amherst,
MA but outside UMass-Amherst campus, and therefore fell under the APD's jurisdiction. Several times in advance of
the May 5,2017 HPO extension hearing. Plaintiff requested the APD report of the April 22,2017 crime. Plaintiff was
referred by the APD record clerk, who refused to give her even a partial copy of this report, to Detective Knightley.
Plaintiff" left voicemails to Detective Knightley that were never returned. On the day of the HPO extension hearing.
Plaintiff perchance encountered Detective lOiightley at the EHDC Clerk-Magistrate's office. Plaintiff politely
approached her. Detective Knightly instantly put Plaintiff off stating that she was busy and could not talk.

Areument


                                                         25
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 27 of 40
Memorandum in Support ofSecond Motionfor Impoundment        v. UMass-Amherst andthree other DefendantsJ)81219




                   of the Defendant's lies. On July 3, 2017, Plaintiff who did not know where else to
                   report the conflicts of interest prejudicing her at the EHDC, went to the office of
                   the Federal Bureau of Investigation ("FBI") located in Springfield, MA. There,
                   Plaintiff recounted to Agent McCormick the instance of bias exhibited by the then
                   EHDC First Justice on May 5, 2017. It was to no avail. Agent McCormick simply
                   retorted that "nothing that can be done against a judge" and the FBI has no
                   jurisdiction. Nevertheless, about threeweeks later, the thenEHDC FirstJustice was
                   placed on administrative leave owing to a complaint filed at the MCAD in August
                   2017 by a then drug court clinician. Tammy Cagle. This MCAD complaint,
                   removed to the U.S. District Court on January 22,2018, states from paragraphs 161
                   to 166: "161. On or about July 3, 2017, Judge Estes again invited Plaintiff into his
                   chambers. 162. On July 3, 2017, the Plaintiff went to the Judge's chambers in
                   Belchertown. 163. Judge Estes closed and locked the door. 164. Judge Estes took
                   off his judicial robe. 165. This time there was no conversation: Judge Estes closed
                   the blinds, and immediately came over to where the Plaintiff was sitting, pulled his
                   pants down and made the Plaintiff to perform oral sex on him. 166. The Plaintiff
                   did perform fellatio on Judge Estes." See Cagle v. Thomas Estes & Behavioral
                   Health Network, Inc., No. 3:18-cv-10123-KAR. July 3, 2017 is the day when
                   Plaintiff met with Agent McCormick for assistance regarding the misconduct she
                   had already endured at the EHDC from several employees including the then First
                   Justice. On May 25, 2018, Judge Estes resigned from the Massachusetts Trial
                   Court. Yet, the FBI never followed up with Plaintiff. To date, nearly four years after
                   having being physically attacked by a now former UMass-Amherst student on the
                   UMass-Amherst campus, and about two and a half years after having been
                   physically attacked by another white male, like-the-first-assailant bom in Western
                   Massachusetts and well-connected. Plaintiff has still not obtained the Law
                   Enforcement certification that would enable her to apply for humanitarian relief.
                   The most recent update from Plaintiffs immigration counsel is dated July 29,2019
                   (Exhibit "28") and reads: "... I'm waiting to hear back from Captain Ronald Young
                   who is in charge of the Administrative Department at the Amherst PD. I didn't
                   receive the information about the department's U-visa guidelines as anticipated


Areument


                                                       26
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 28 of 40
Memorandum in Support of Second Motionfor Impoundment        v. UMass-Amherst and three other Defendants_081219




                   because Captain Young is away until tomorrow. Ill call him when he returns and
                   then we should know what they need." (Emphasis added).

    27. On the basis of the foregoing, the materials in the filings of the case 3:19-cv-30056-MGM
           will essentially gravitate around three privileged areas:

             i.    The research performed bv Plaintiff before, during, and after her participation in
                   the U.S. EVP with UMass-Amherst as her direct sponsor and Dr. Lovlev as her
                   mentor. The primary goal of the case 3:19-cv-30056-MGM is to demonstrate what
                   Plaintiff was doing in the Lovley lab and how she contributed (directly and
                   indirectly) to two reviews, three articles, one collaboration, and one patent
                   application, without receiving the slightest credit. This is a strategy to respond to
                   the unproven allegations of Dr. Lovley and other UMass-Amherst employees that
                   Plaintiff is "[ajrguably the worst employee ... ever" manufactured after Plaintiff
                   expressed concerns and began lodging complaints in orderto pursue herprogram's
                   objectives with another mentor in another lab. The NewYork Times' investigation
                   of allegations against a former Harvard high-profile professor. Dr. Roland Fryer,
                   disclosed in the article "Star Economist at Harvard Faces Sexual Harassment

                   Complaints" written by Jim Tankersley and Ben Casselman and published on
                   December 14, 2018 (Exhibit "29"), corroborates that accusers' competence and
                   ability to continue their program are directly targeted in those types of academic
                   controversies: "... he directed another employee to compile examples of poor
                   performance by the accuser. He refused to writerecommendations for economics
                   graduate programs shewas applying to, according to her complaint, and all rejected
                    her." (Emphasis added). To attain the aforementioned goal, substantial confidential
                    research information will have to be exposed. Furthermore, documentary evidence
                    primordial to prove that Plaintiffwas "set up" has remained inaccessible to her
                    because the offices who possess it would invoke that it contains trade secrets or
                    simply because it isper law protected (e.g., the personnel records of "comparator"
                    postdoctoral employees). This evidence is indispensable to demonstrate Plaintiffs
                    competence and prove that an unlawful discriminatory reason predominantly
                    motivated the disparate and adverse treatment applied to Plaintiff.



Argument


                                                        27
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 29 of 40
Memorandum in Support ofSecond MotionforImpoundmentv. UMass-Amherst andthree other DefendantsJ)812I9




            ii.   Thephysical repercussions onPlaintiffoftheabuses bvUMass-Amherst and others
                  documented in medical records. The day when Plaintiff first met with the
                  representative of the UMass-Amherst Postdoctoral Researchers' Union, April 3,
                  2014, Plaintiff had the injuries she was sustaining in the Lovley lab medically
                  documented (Exhibit "30"): "History of Present Illness: ... In her current position
                  shedoesvery repetitive work withherhands. Shebrought in a tube [sic] in to show
                  me how she must remove the tops of tubes and replace them to keep anaerobic
                  conditions.... She apparently is working for a boss that insists she work 7 days a
                  weekand is demanding that she work even morenow.... She is forced to use heavy
                  wipes on her hands which apparently should only be used for surfaces. She's also
                  restricted as to the number of gloves that she can wear and so sometimes her current
                  set of gloves get somewhat damp inside.... The patient is very disappointed in the
                  situation as she was really looking forward to this job.... Physical Exam ... There
                  is some spamof the right paravertebral muscles in the cervical area. Her posture is
                  not particularly good.... Positive test for carpal tunnel syndrome. Her skin is
                  extremely dry throughout arms, legs, and especiallyher hands where the xerosis is
                  severe. There are abrasions over her knuckles.         There is some diffuse loss of
                  muscles in the hands bilaterally." On June 26, 2016, two days after the closure of
                  Mr. Steward's investigation was announced to Plaintiff via email (Exhibit "24"),
                  Plaintiff "under a great deal of stress having to do to with her immigration status
                  and her doctoral thesis work," see Exhibit "31", began suffering jfrom a bowel
                  volvulus, which required that she undergo emergency surgery on July 1, 2016
                  (Exhibit "31"). Currently, albeit ehgible "for compensation for injuries resulting
                  from a violent crime ... under the Victims of Violent Crimes Compensation Act"
                  (Exhibit "32"), Plaintiffcannot afford to have stitched the radial tear that the April
                  22, 2017 felonious physical attack has caused to her right knee lateral meniscus
                  (Exhibit "33"). Since April 22, 2017, Plaintiff has been enduring Chronic Pain
                  Syndrome ("CPS"), a condition originating from this untreated injury.




Areument


                                                    28
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 30 of 40
Memorandum inSupport ofSecond Motionfor Impoundment               v. UMass-Amherst andthree other DefendantsJ)8l2I9




           iii.   The internal records of the state and federal agencies solicited bv Plaintiff. The
                  large-scale obstructive acts afore-exposed^^ show that many U.S. officials (MCAD,
                  DLR, DOS, AGO, Northwestern OA's office, local Police, State Police, EHDC,
                  FBI) have secretly participated in covering up all responsibilities by curtailing
                  Plaintiffs active efforts to end the unfair situation imposed on her.

The extent of community interest
    28. The following extensive but abbreviated exploration implies that the public's interest in
           Plaintiffs case is atypically weak. First, several U.S. (state and federal) administrative
           agencies where officials had or still have the power to aid Plaintiff have manifested an
           interest solely in keeping her case from being adjudicated effectivelyresulting in shoving
           it under the rug. Even when certain state officials displayed an intent to assist Plaintiff{cf.
           State Police Detective Hebert from October 29, 2015 until November 2, 2015 and AGO
           Civil Rights Department Senior Investigator Steward from November 12, 2015 until
           February 11,2016), the facts that ensuedstronglysuggest that those wereordered by higher
           supervisors to halt their efforts on Plaintiffs behalfas if the law did not apply to her.

     29. Except Mr. Swan (who asked Plaintiffon March 18,2016 how she could still be alive after
           all she had already been through), members of the community who were made aware of
           Plaintiffs case (e.g., NAACP but also several churches) have tried either to verbally (and
           even forcefully; cf. the physical attack on UMass-Amherst campus alluded to previously)
           coerce Plaintiff into committing a crime (fake marriage to a U.S. citizen), or to discourage
           Plaintiff from bringing an action in a U.S. court while adding that she would "better return
           to France even if it's to work at a McDo!" The latter quoted statement, railed against
           Plaintiff on August 6, 2015 by Dr. Gary Tartakoff—^who at that time claimed to be a
           supporter of the Amherst NAACP—^resonates with the July 14, 2019 Twitter message of
           the President of United States about four new Democratic members of the U.S. congress.

     30. Academic peers who Plaintiff discovered had known for very long about the "open secret"
           ofDr. Lovley's unethical conduct, have exhibited no interest in coming forward even after
           having promised help (Exhibit "34"): "Derek has a long history of treating people that



   Actually, in the present memorandum, Plaintiff referenced only a subset of these acts.


Areument


                                                          29
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 31 of 40
Memorandum inSupport ofSecond Motionfor Impoundment         v. UMass-Amherst and threeotherDefendants_08I2I9




           have worked with him very badly. Some when they worked for him, others after. You
           are in very good company. I cannot make any promises that we can find a solution. I am
           not looking to hire a postdoc at this time (I don't have the funding), but others are. One
           thing you need to consider is the following: you have been placed into a situation that
           is not your fault. If you do nothing, you may very well be fired. If you feel that there
           is scientific misconduct occurring in the lab by others, you (vdth my help) may have
           to discuss it with program manager (the sponsor from the Office of Naval Research)
           to avoid being fired and possibly, with the sponsors help, obtain a new position
           elsewhere."


    31. Globally, independently of the type of occupation, the press has remained completely silent
           on the responses of authorities when accusers against white male public figures are females
           of a minority class who are also not self-fiinded non-immigrants.

     32. The January 12, 2018 CNN Politics online article "Trump decries immigrants from
           'shithole countries' coming to US," written by Eli Watkins and Abby Phillip, states (Exhibit
           "35"): "... White House spokesperson Raj Shah did not deny the 'shithole' remark, but
           instead said in a statement that Trump 'is fighting for permanent solutions that make our
           country stronger by welcoming those who can contribute to our society, grow our economy
           and assimilate into our great nation.'" In compliance with 22 C.F.R. 62.20(b) "Purpose,"
           Plaintiff, an educated non-immigrant foreigner, came to the U.S. "to engage in research,
           teaching and lecturing with [her] American colleagues, to participate actively in cross-
           cultural activities with Americans, and ultimately to share with [her] countrymen [her]
           experiences and increased knowledge of the United States and their substantive fields,"
           and not to get married and/or have children and/or become a victim of crimes. Plaintiff, a
           chaste Christian, has never been married and has never been sexually involved with
           anyone. Plaintiff has been dedicating her whole life to studying while fighting
           homelessness and unemployment. Besides the biomedical sciences. Plaintiff has a passion
           for ballet—an art that requires high discipline, pure diligence, technical precision, and hard
           sacrifices. These latter skills were nurtured by Plaintiff to become a scientist who could
           "contribute to" the U.S. society, and "assimilate into" this nation. Yet, Plaintiff has hardly




Areument


                                                      30
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 32 of 40
Memorandum inSupport ofSecond Motionfor Impoundment             v. UMass-Amherst andthree other Defendants_08l219




           ever felt welcomed at UMass-Amherst and has consistently been sidelined at U.S.
           administrative agencies.

The reason for the request
    33. Plaintiff seeks to prevent potential negative effects thatthiscasecould have on the issuance
           of a patent for which an application, issued on December 27, 2018, is currently ready for
           examination (Exhibit "36")- In the positive outcome that this patent issues soon. Plaintiff
           would be able to amend the complaint 3:19-cv-30056-MGM with a claim of correction of
           inventorship. The materiahzation of thiselement would make out an irrefutable primafacie
           showing of white-collar labor exploitation human trafficking.

     34. Confidential research information, necessary to validate various misconduct aspects, is
           inextricably intertwined with the claims at issue. Conducting the entire proceedings under
           seal would preempt the Defendants' potential defense that, to safeguard privileged
           information, the claims should not be permitted to go forward.

     35. Dr. Lovley (with the connivance of Dr. Kelly Nevin", one of his former graduate students
           who he hired in his lab as a postdoc then as a Research Assistant Professor; and Dr. Nikhil
           Malvankar, another of his former graduate students who he helped become an independent
           Assistant Professor) has only partially converted some of Plaintiffs research ideas.
           Therefore, disclosing Plaintiffs research statements to the public should be prevented.
           Additionally, when on June 1, 2015, Plaintiff applied to the lab directed by Dr. Blanchard
           at the UMass-Amherst Biology Department, Plaintiff submitted in support the draft of a
           new research project that should remain shielded from the public's view.

     36. Since June 2014, Plaintiff has been fighting for a fair opportunity to clean her name.
           Plaintiff was smeared for trying to save her career and life. A neutral fact-finder/decision-
           maker is integral to prove the unlawfulness of the after-the-fact attacks of Plaintiff s
           performance, the assassination of her credentials, the denial of accreditation for her work,
           which have fueled Plaintiffs blackballing and inflicted on her emotional distress. This
           means that the retaliatory demeaning allegations with which the defendants have papered


" Dr. Nevin is renowned on UMass-Amherst campus for having had an affair with Dr. Lx)vley while he was both
married and her mentor. Dr. Nevin's favorable treatment in exchange for sexual fevors is another marker of the large-
spectrum misconduct perpetrated with impunity by Dr. Lovley in UMass-Amherst campus.


Areument


                                                         31
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 33 of 40
Memorandum inSupport ofSecond Motionfor Impoundmentv. UMass-Amherst andthree other Defendants_081219




           Plaintiffs both employment and immigration records have to besubmitted to the court for
           examination. In order to "contain" the smear already caused to Plaintiffs reputation,
           impoundment appears to be the most secure alternative. The dissemination of
           disinformation that has already unjustly maligned Plaintiff s character would "let the cat
           out ofthe bag without any effective way of recapturing it," see F.T.C., 830 F.2d at 407, if
           it bore out that the Defendant's allegations are false.

    37. In parallel, since November 2, 2015 (Exhibit "25"), Plaintiff has been fighting to obtain
           the certification requiredto become eligible for humanitarian relief and thenceretrieve the
           valid non-immigrant status of which she was purposefully deprived. The disclosure to
           public of the records in this case will very likely adversely affect this struggle too.

    38. Plaintiff has already sought aid at various places without maintaining the names of the
           accused confidential, which permits the uncovering of her identity. A pseudonym,
           therefore, appears inadequate to avert connections from being madewith Plaintiff.

    39. The substantial likelihood of clerical bevues, exemplified by the mistake made on June 17,
           2019 in the case                                       (Exhibit "37"), confirms that a pseudonym
           cannot warrant that Plaintiffs identity will not be disclosed to the public.

    40. A Nature World View online article "Universities show their true colours in court" written

           by Dr. Steven Piantadosi and published online on July 1, 2019 (Exhibit "38"), has brought
           to Plaintiffs attention that recently "... lawyers for Dartmouth College in Hanover, New
           Hampshire, argued that two women must be named publicly if they are to join a class-
           action lawsuit describing rape, abuse and harassment in its Department of Psychological
           and Brain Sciences. The suit has been filed by seven others, six whom are identified. The
           college's arguments for outing the complainants' identities include that pseudonyms
           are *confusing' and that unnamed plaintiffs will make a fair defence impossible —
           even though Dartmouth itself does know these women's identities." (Emphasis added).

    41. Plaintiffs true identity is crucial to warrant fairness in a trial. In the past, almost
           systematically. Plaintiff was mistrusted and concurrently records were corrupted. Plaintiff,

  On July 4,2019, Plaintiff found this error perchance. She reported it to the Clerk's office the day after, July 5, 2019.
Albeit by now this mistake is supposed to have been fixed, the page displayed in Exhibit "37" is still visible and
associated with Plaintiffs name on the web.


Arsument


                                                           32
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 34 of 40
Memorandum inSupport ofSecond Motionfor Impoundment              v. UMass-Amherst andthree other Defendants_0812I9




           even at her death bed, was not believed when, on July 1, 2016, at the Emergency Room
           Department of Cooley Dickinson Hospital in Northampton, MA, she answered to the
           question concerning her profession that she was a doctor in the biomedical sciences. The
           emergency doctor like the surgeon who operated on Plaintiff referred to Plaintiff as a
           graduate student in the medical records (Exhibit "31"): "under a great dealof stress having
           to do with her immigration status and her doctoral thesis work.... She is pursuing her
           doctoral degree in biomedical science at UMass."'^ Likewise, a surgeon consulted on
           January 24, 2018 wrote in his notes "a                         graduate student" (Exhibit "33")
           When Plaintiff consulted for a second surgical opinion on March 14, 2018 (Exhibit "33"),
           Plaintiff was accompanied by a white male attorney'^. Strikingly, the medical records of
           this latter visit came out accurate (Exhibit "33"). These facts altogether support that even
           individuals, who like Plaintiff possess a doctorate degree, do not presume that Plaintiff
           could be saying the truth when she presents, herself, her occupation. Accordingly,
           addressing Plaintiff as a "Jane Doe," would unfairly place the Defendants on a pedestal,
           whereas, in the first place, if the Defendants were intellectual "geniuses," they would not
           have needed to plagiarize/convert Plaintiffs ideasIn such a context, the impact of
           addressing one with their correct name and/or title is outlined in Ms. McNeill's January 8,
           2019 opinion when she refers to Dr. Rosalind Franklin (Exhibit"05"): "Feynman is not the
           only powerful man who has been able to control the story of science to the disadvantage
           of the women in his professional orbit. For a long time, the world believed that Rosalind
           Franklin had nothing to do with James Watson's and Francis Crick's discovery of DNA's
           structure. In no small part, that's because Watson said she didn't, and we believed
           him. His 1968 autobiography Double Helix was the first full-length account of the
           discovery story. He refers to Franklin as 'Rosy' throughout the book ... He also omits
           the part of the story in which he and Crick used Franklin's Photograph 51 without her

  Because of the repetition, this cannot be construed as the result of a mistake. Also, the accurate sentence "She is
celibate, lifelong, having for many years strongly considered dedicating herself to religious order" in these medical
records (Exhibit "31") validates that Plaintiff expressed herself without ambiguity during the medical examination.
  This surgical opinion contains other inaccuracies: the visit took place on January 24, 2018, not January 25, 2018,
and the date of onset is April 22, 2017, not April 20, 2017.
  Plaintiff was accompanied by the counsel who represented her at the March 23,2018 show cause hearing, which he
had requestedby filing on February 1,2018 at the EHDC, on Plaintiffs behalf, an application for a criminal complaint
against the perpetrator of the April 22, 2017 felonious physical attack.
   In fact, ifsuch were the case. Plaintiffwould have never had these ideas because the Defendants' brains would have
already produced them.


Argument


                                                         33
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 35 of 40
Memorandum inSupport ofSecond Motionfor Impoundment               v. UMass-Amherst andthree other Defendants_0812I9




           permission or knowledge; Photograph 51 was the key evidence to unlocking the structure
           of DNA. He couldn't completely erase Franklin, since too many people knew who she
           was, but he diminished her enough vrith a whimsical nickname                              Trying this case
           anonymously will compound Plaintiffs disadvantage by amplifying her burden of
           disturbing the jury's unconscious bias or susceptibility to stereotypes associating being a
           successful scientist with certain features (e.g., male, white or light-skinned). In this latter
           regard, on August9,2019, MelissaMcCartneyin her article"What's in a name?"published
           by the second worldwide leading scientific journal. Science (Exhibit "39"), reported a
           recent study that "provides additional experimental support to the double-blind
           challenges faced by women of color in science and helps to expose faculty biases that
           may impede minority membersfrom advancing in STEM."^^ (Emphasis added).

Constitutional rights, investigative secrecy, and safety
    42. Plaintiff has due process interests derived from the Sixth Amendment that should be
           included within the good cause analysis. Attempts to interfere with her witnesses are
           plausible and therefore the identities of the latter should be protected too.

    43. Plaintiff has a legitimate interest in the non-disclosure of the internal to-date-handled-in-
           secrecy records of the state and federal agencies solicited in the past. Arguably, many of
           these records "[fall] within the ambit of the attorney-client privileged" invoked in Siedle,
           147F.3dat 11.


     44. Plaintiffs safety'^ is already in jeopardy because of a precarious situation (CPS and
           financial hardship). Disclosure of Plaintiffs two-dimensional whistle-blower claims can
           further imperil her. The social media platforms and blogging sites available in this Digital
           Era have oversimplified not just the vilification but the annihilation of whomever is
           perceived as a villain. The death threats endured by Dr. Christine Blasey Ford, despite


  Indirectly, this article shows that the triple bias, to which minority females who are also non-immigrants not self-
supporting are subject in the STEM, keep being sidestepped in the U.S. press.
  Plaintiffs February 8, 2016 email entitled "I am terribly afraid for my safety" to AGO Senior Investigator
Richard Steward (Exhibit "20"), was followed by Plaintiff enduring a life-threatening medical condition from June
26,2016 to July 1,2016 because of "a great deal of stress" provoked by the closure of Mr. Steward's investigation
announced two days earlier, on June 24, 2016. Afterward, Plaintiff on April 22, 2017 was victim of a felonious
physical attack that has left Plaintiff injured and, since then, in chronical pain. Would Plaintiffs life have followed
a trajectoiy significantly less fraught with harm, trauma, and danger, had Mr. Steward followed up on his
February 11,2016 commitments (Exhibit "20") and completed his investigation?


Argument


                                                          34
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 36 of 40
Memorandum inSupport ofSecond Motionfor Impoundment        v. UMass-Amherst andthree other Defendants_08l2l9




           being both white and a U.S. citizen, as well as the rise of hate crimes in the U.S. for the
           third consecutive year (reported by the FBI on November 13, 2018), speak volumes.

Immediate and irreparable harm is very probable
    45. A concrete form of immediate irreparable harm is a false charge of accruing willfully
           unlawful presence in the U.S., which would nullify any tedious progress made at this
           juncture by Plaintiff, via immigration counsel, on the path to regaining a valid non
           immigrant status (Exhibit "28")-

    46. Plaintiffs principal purpose withthe action at issue is to secure a name-clearing litigation
           ("reserving to her [forthe first time] the right to confront and cross-examine all witnesses
           against her, and to summon witnesses in her defense," See Smith v. Commissioner of
           Mental retardation, 409 Mass. 545, 547 (1991), to restore her ability to gain employment
           in her domain of expertise. Whilst mischaracterizations of Plaintiffs competence in all
           likelihood will be expanded by the Defendants, propagating the former in the public—of
           which potential employers are also members—will thwart Plaintiffs name-clearing
           endeavor. In fine. Plaintiffmight irretrievably lose the possibility of everbeing employable
           in Academia again because these demeaning accusations will dog her indefinitely.

     47. Plaintiffs main asset to clear up her name is the patent applicationcurrently under review
           by the U.S. Trademark and Patent Office (Exhibit "36"). Plaintiff's contribution to the
           work that led to this patent application was not acknowledged. Divulging the currentaction
           to the pubhc has a highrisk of averting the issuance of this patent, whichwould inescapably
           lessen Plaintiffs primafacie case of white-collar labor exploitation human trafficking.

     48. Plaintiff uses the UMass-Amherst campus resources (public computers to write her
           pleadings and an address to receive mail thanks to                                      on faculty at
           UMass-Amherst College of Education). In the past, UMPD's proclivity for racial profiling
           was utilized by personnel of the UMass-Amherst Du Bois library to harm Plaintiff for
           attempting to report harassment she was enduring at this library. In 2015, 2018, and even
           recently in 2019, Plaintiff had several of her personal correspondences sequestrated if not
           delivered conspicuously opened. Public access to the records of this case is extremely
           likely to exacerbate these adverse actions. By way of example, an unlawfully-gained



Argument


                                                      35
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 37 of 40
Memorandum inSupport ofSecond Motionfor Impoundment                 v. UMass-Amherst andthree other Defendants_081219




           trespass order would deprive Plaintiff of resources that she critically needs to ensure her
           representation (especially since the Hampshire Law Library opening days have been
           reduced to two days a week starting July 9, 2019), severely prejudicing her.

    49. Plaintiffs attempts to obtain a show cause hearing at the EHDC regarding the two counts
           of Assault and Battery that took place on UMass-Amherst campus on September 30, 2015
           and October 1, 2015, caused her to be libeled, slandered, and stalked on UMass-Amherst
           campus by the perpetrator of this crime. UMPD, EHDC, Northwestern OA's office,
           UMass-Amherst Title IX office, and APD—all denied assistance to Plaintiff in spite of this
           perpetrator's long listof criminal records while UMass-Amherst allowed himto stayfreely
           on its campus. On September 21, 2017, five months after the April 22, 2017 felony, the
           perpetrator of the September 30, 2015 and October 1, 2015 misdemeanor began stalking
           Plaintiff again on UMass-Amherst campus. After this latter incident, an APD Officer,
           Sergeant Janet Lopez, who Plaintiff had recently re-contacted'^ inrelation to the April 22,
           2017 felonious attack, finally accepted to assist Plaintiff. Sergeant Lopez's intervention
           was successful. However, because this predator has never been held accountable despite
           Plaintiffs hard efforts^®, his harassing behaviors might also be reactivated if these
           proceedings are not conducted under seal.

Narrow tailoring
     50. The usage of a pseudonym will not prevent disclosure of Plaintiffs identity because the
           field of expertise in question is very specific and a large network of individuals from
           various state and federal agencies are aware of the controversy at issue.

     51. The most part of the documents that Plaintiff anticipates wUl have to be filed in this case
           are legally privileged because they represent sensitive materials that need to be protected,
           and, as such, they have been handled to date in secrecy. Once the latter is withheld, there




   Plaintiff had contacted Sergeant Lopez for the first time on January 8, 2016, in an attempt to have APD investigate
the September 30, 2015 and October 1, 2015 misdemeanor in which UMPD had denied interest.
  These efforts actually resulted in the April 22, 2017 felonious physical attack of Plaintiff by the then spiritual fellow
from College Church in Northampton, MA who had accepted to accompany Plaintiff on April 22, 2017 at the EHDC
Clerk-Magistrate's office where Plaintiff did not want to be alone when filing her second application for a criminal
complaint against the perpetrator of the September 30, 2015 and October 1, 2015 two counts of Assault and Battery.


Argument


                                                            36
           Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 38 of 40
Memorandum inSupport ofSecond Motionfor Impoundment          v. UMass-Amherst andthree other Defendants_081219




           will remain no substantive information to disclose, which justifies the request for shielding
           the entire case record and not just portions of the parties' legal filings.

    52. Plaintiff is amenable to a seal modifiable by this Honorable Court as the proceedings
           progress. The First Circuit has previously ruled "[w]e do not hold that the materials which
           Putnam claims are privileged necessarily mustremain under permanent seal. As the record
           develops andadditional facts are adduced, the district court may find that Putnam's claims
           of privilege are unsupported ...." See Siedle, 147 F.3d at 12.




Argument


                                                      37
         Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 39 of 40
Memorandum inSupport ofSecond Motionfor Impoundment        v. UMass-Amherst and three otherDefendants_08I219




Conclusion

Wherefore, Plaintiff deduces that she has met her burden of showing good cause for continuing
the impoundment of the records of the case 3:19-CV-30056-MGM. If privacy rightsare notattached
to these judicial records, Plaintiff will very likely suffer from additional, severe, irreparable
damages; a special circumstance adequate to overcome the presumption of public accessibility.
Consequently, Plaintiffprays that the proceedings of this case will commence under the auspices
of the high-levelconfidentiahty required inasmuch as the factors discussed hereinabove allow.




Conclusion


                                                      38
          Case 3:19-cv-30056-MGM Document 18-2 Filed 08/12/19 Page 40 of 40
Memorandum inSupport ofSecond Motionfor Impoundment        v. UMass-Amherst and threeotherDefendantsj}81219




Service

The Plaintiff respectfully requests that the present memorandum be filed underseal and reviewed
ex-parte by this Honorable Court.

Respectfully submitted,
                             Pro Se




Service


                                                      39
